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STATE OF NEW MEXICO
COUNTY OF BERNALILLO
SECOND JUDICIAL DISTRICT COURT

HOLLOW SPIRITS, LLC,

          Plaintiff,

v.                                                           No. ______________________

CORSON DISTILLING SYSTEMS, INC.,

          Defendant.

                                     COMPLAINT FOR DAMAGES

          COMES NOW Plaintiff Hollow Spirits, LLC, (“Hollow Spirits”) by and through its

counsel of record, Giddens, Gatton & Jacobus, P.C. (H. Jesse Jacobus, III), and, for its Complaint

for Damages against Corson Distilling Systems, Inc., (“Corson”) hereby states as follows:

                               PARTIES, JURISDICTION, AND VENUE

1. Plaintiff, Hollow Spirits, is a domestic Limited Liability Company with its principal place of

     business in Bernalillo County, New Mexico.

2. Defendant, Corson, is a foreign corporation with its principal place of business in Boise, Idaho.

3. Defendant Corson knew, or should have known, that it was doing business with a New Mexico

     company at all material times.

4. Upon information and belief, Defendant Corson has done business in New Mexico prior to

     selling a still to Plaintiff.

5. Specifically, Corson had recently sold a still to Glencoe Distillery, LLC, which is located in

     Ruidoso, New Mexico.

6.   Venue in this Court is proper.




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7. Either by virtue of doing business in New Mexico with Plaintiff and/or by virtue of doing

   business with Plaintiff and having also done business in New Mexico with Glencoe Distillery,

   LLC, Defendant Corson has met the requirements of New Mexico’s Long Arm Statute, NMSA

   1978 § 38-1-16(A), et seq such that jurisdiction is proper in this Court.

                              FACTS COMMON TO ALL COUNTS

8. Plaintiff incorporates all previous allegations as though fully set forth herein.

9. In March of 2017, Plaintiff was in the process of opening an Albuquerque craft distillery and

   was in the market for a still.

10. Plaintiff’s target date to open its distillery was March 2018.

11. Corson’s advertising materials, including its website and “YouTube” videos, emphasized the

   fact that Corson’s was an American manufacturer, which was attractive to Plaintiff.

12. Plaintiff also reviewed Corson’s YouTube advertising videos, specifically, a video located at

   https://www.youtube.com/watch?v=nBKrFxkdY1Q, which was two minutes and forty three

   seconds in length.

13. In that video, one of Corson’s owners, Tory Corson, expressly stated that: “the difference at

   Corson’s is that we focused our entire company on the startup craft distilling industry. So all

   the stuff those guys don’t offer, we added it. It has gone a long way towards helping our

   customers get off the ground faster and more affordably than if they’d bought from one of our

   competitors.”

14. This representation by Mr. Tory Corson attracted Plaintiff to do business with Corson’s because

   Plaintiff was, and is, a startup craft distilling business.




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15. Also in the video, Corson’s other owner, Josh Corson expressly stated “The cool part about it

   is now we get to help lots of craft distilleries start distilleries. So instead of having our own

   distillery, we have lots of distilleries.”

16. This representation by Mr. Josh Corson further attracted Plaintiff to do business with Corson’s

   because Plaintiff understood this representation to mean that Defendant understood the needs

   of startup distilleries, was attentive to customer needs, including responsiveness to questions

   and timely delivery of a quality product.

17. In another YouTube video, located at https://www.youtube.com/watch?v=01e3FUDIzwo, Mr.

   Tory Corson further represented that Defendant was on its way to “becoming the global leader

   in distillery equipment.” Plaintiff understood this to be a further representation of Defendant’s

   commitment to quality, timely, attentive, and communicative delivery of a good quality still.

18. Plaintiff viewed Defendant’s website which advertised that the “CURRENT BUILD TIME” for

   its stills was “24-30 WEEKS”, which in Plaintiff’s estimation, would have left ample time for

   construction, delivery, installation, and testing of the new still, well in advance of Plaintiff’s

   target opening date.

19. Plaintiff also conducted internet research for negative feedback about Defendant Corson.

   Plaintiff found none. Upon information and belief, Plaintiff believes it did not find negative

   feedback on Corson with regard to late delivery of stills, poor workmanship, and or failure to

   deliver stills at all because Defendant Corson engaged in a pattern and practice of threatening

   customers it had mistreated into removing such comments.

20. In addition, Corson as a part of its fraudulent business model, included arbitration clauses in its

   contracts, and insisted that customers with whom it had a dispute, sign Non-Disclosure




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   Agreements (“NDAs”) as a way of keeping Corson’s many failures from becoming public, and

   sweeping them under the rug.

21. Corson’s YouTube videos do not state that it requires all customers to sign a contract that

   contains language stating that Corson is not bound to deliver any still by any particular date.

22. Corson’s YouTube Videos do not state that it will routinely refuse to give a customer a firm

   delivery date and make the excuse that it cannot do so because it “custom builds” the stills and

   because, in Corson’s view, copper is so difficult to work with that it is impossible to guarantee

   any firm delivery date.

23. Corson’s website advertisement does not state customers should not rely on Corson’s

   “CURRENT BUILD TIME” of “24-30 WEEKS” and/or that Corson cannot, and has routinely

   failed to meet delivery dates for its customers.

24. Plaintiff decided to do business with Corson because of the absence of negative comments about

   the company, and because Corson offered an American made product, from a company that

   focused on startups, with a build time that was faster than competitors, at a lower price.

25. On March 16, 2017, Plaintiff received an initial quote for equipment, including a 700 gallon

   pot still, from Corson of $134,000.

26. During a telephone conversation, Corson stated that after Plaintiff paid its deposit, Corson

   would provide Plaintiff with access to its engineers who could answer any specific technical

   questions Plaintiff had.

27. The deposit Corson required was one half of the full purchase price.

28. On March 30, 2017 Corson corrected its original quote to $120,500.




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29. On April 6, 2017, Plaintiff requested that Corson provide a detailed list of items included with

   the purchase price to which Corson responded “We don’t have a list until it ships and we include

   the packing list, but the schematics show everything that comes with our equipment.”

30. On April 14, 2017, Plaintiff wired $60,250.00 to Corson which represented one-half of the

   originally quoted price of $120,500.

31. At no time prior to receiving Plaintiff’s wired money did Corson employees tell Plaintiff, via

   email, or telephone conversation, that it could not meet any set delivery date whatsoever, due

   to alleged difficulties in working with copper.

32. On April 17, 2017, Plaintiff asked Corson to provide detailed documents showing the parts,

   pieces, attachments, and piping that consisted of Plaintiff’s order. Plaintiff further requested a

   user manual showing how to use the equipment and contact information for Corson’s

   engineering department who could answer Plaintiff’s questions.

33. Corson responded “Absolutely! I will have our project managers info. Shortly, when they are

   assigned. In the meantime, I can schedule a call with the engineering department whenever your

   team is ready. Also, I have them working on your list as well!”

34. On April 20, 2017, Corson again told Plaintiff “engineering is working on your list. Just wanted

   you to know we didn’t forget.”

35. Despite making these promises, representations, and assurances, Corson has never provided

   Plaintiff with the name of the project manager, put Plaintiff in touch with Corson’s engineering

   department, or provided Plaintiff with a parts list.

36. On April 21, 2017, Plaintiff signed a written “Quotation” and “Purchase Agreement” attached

   hereto as Exhibit A.




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37. At the time Plaintiff signed this document, because it had already wired its money to Defendant,

   Plaintiff did not notice that the purported Quote and Purchase Agreement contained language

   that purported to: eliminate any obligation for Corson to deliver the equipment consistent with

   its advertised build time of “24-30 WEEKS”, limit damages for failure to timely deliver or

   anything else to the fee paid for the equipment, and compel arbitration.

38. Due to the representations made in Corson’s advertising, Plaintiff expected delivery of its

   equipment in “24-30 WEEKS”, which would have been approximately late October or early

   November 2017.

39. On June 8, 2017, Corson again promised to provide updates on Plaintiff’s order “as it moves

   through each stage, we will update you and provide the documentation needed.” Corson never

   provided any such updates.

40. On June 14, 2017, Plaintiff advised Corson that it needed to change its order. Instead of a 700

   gallon system, Plaintiff was requesting a 400 gallon system. However, Plaintiff added a mash

   tun and two fermenters to the order which increased the purchase price to $143,500.

41. On June 16, 2017, Plaintiff wired Defendant an additional $11,500 which, along with the money

   Plaintiff had already paid, represented the down payment of 50% of the new price of $143,500.

42. Plaintiff also signed a new “Quote.” See Exhibit B.

43. Prior to receiving Plaintiff’s additional money, Corson never told Plaintiff that any of its

   requested changes would result in a longer build time.

44. However, even if Defendant had not done anything in the previous nearly two-months since

   Plaintiff made its original down payment, pursuant to Defendant’s advertised “24-30 WEEKS”

   build time, Plaintiff’s equipment should have been completed between November 29, 2017 and

   January 10, 2018, at the latest.



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45. Subsequent to receiving Plaintiff’s money, Corson refused to provide any detailed updates,

   confirm any completion date, or communicate effectively with Plaintiff’s requests for

   information.

46. It was not until August 11, 2017, that Corson stated, in writing, that Plaintiff’s changes “can

   and does move the initial estimated time of completion.”

47. Defendant also refused to permit Plaintiff to go to Boise, at Plaintiff’s expense, to inspect the

   still before tendering another $75,000.

48. On September 1, 2017, Plaintiff expressly told Defendant that construction on its build out was

   scheduled to begin in seven (7) weeks, so time is of the essence.

49. Corson again refused to provide any update, or answer any substantive questions, claiming

   “September is very busy for everyone.”

50. On September 29, 2017, in response to another inquiry from Plaintiff the day before, Corson

   confirms that “Your build is moving right along. The estimated date of completion remains the

   same…”

51. On October 23, 2017, Corson finally confirmed that “The estimated date of completion is at the

   first part of January. I will have more specifics as we get closer.”

52. On November 9, 2017, Corson again confirmed in writing that “Everything is moving right

   along in production with no changes at this time.” By this time, Corson had ignored several

   requests from Plaintiff that it provide photographs of Plaintiff’s equipment showing any

   progress.

53. After failing to respond to written requests for updates (or photographs) from Plaintiff, on

   December 6, 2017, Defendant finally wrote Plaintiff stating “Your estimated date of completion

   has moved a little from mid-January to the end of January…”



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54. Defendant gave no reason for this change.

55. During the month of December 2017 Corson refused to answer questions as to why the delivery

   date had changed, or what issues caused the delay, or responding to Plaintiff’s request to inspect

   its equipment before making the final payment.

56. On December 14, 2017, Corson wrote Plaintiff stating that it would not permit Plaintiff to

   inspect its equipment and for the first time, claimed that pursuant to the Purchase Agreement,

   “This time frame is an estimate and not a guarantee”.

57. In December 2017, Plaintiff became alarmed when it learned, through an Idaho Statesman

   article, that Defendant had been sued by several customers for taking money and delivering

   equipment late, not delivering equipment at all, and/or failing to deliver equipment that work

   properly. See Exhibit C (article).

58. In addition, Plaintiff also learned through a separate source, that one of the Corson customers

   that received late and/or non-functional equipment from Defendant was Glencoe Distillery in

   Ruidoso, NM.

59. Upon information and belief, Plaintiff believes Defendant has engaged in a pattern and practice

   of taking money from customers, including other New Mexico customers, and failing to deliver

   products timely, and/or of appropriate workmanlike quality.

60. When those customers complained, Defendant has engaged in a pattern and practice of pointing

   to its grossly unfair and unconscionable Purchase Agreements as an excuse for its failure to

   meet its own advertised deadlines and poor craftsmanship.

61. Defendant has been successful in continuing to fool customers by sweeping its own fraudulent

   conduct under the rug by either compelling arbitration, or requiring wronged customers to sign

   “NDAs.”



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62. Defendant did not meet its “early January” and “end of January” delivery commitments to

   Plaintiff.

63. Despite Plaintiff’s written demand, Defendant has refused to return Plaintiff’s money.

                              COUNT I: BREACH OF CONTRACT

64. Plaintiff incorporates all previous allegations as though fully set forth herein.

65. The parties entered into an oral agreement, some of the terms of which are reflected in the

   Purchase Agreements attached hereto, that Plaintiff would buy equipment from Defendant for

   $143,500.

66. Defendant, by its conduct as described herein, has breached its contract with Plaintiff.

67. As a direct and proximate result of

68. Defendant did not meet its delivery commitments to Plaintiff, including its “early January”

   and “end of January” dates.

69. As a direct and proximate result of Defendant’s breaches, Plaintiff has suffered damages in an

   amount to be proven at trial.

     COUNT II: BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

70. Plaintiff incorporates all previous allegations as though fully set forth herein.

71. Every contract incorporates an implied duty of good faith and fair dealing.

72. Defendant, by its conduct as described herein, never intended to honor its promises to Plaintiff.

73. Defendant’s breaches, including its insistence that it not be held to any reasonable delivery date

   (for example the date in its own advertising), goes to the core of the agreement between the

   parties and is material.

74. By virtue of its conduct, Defendant has breached its covenant of good faith and fair dealing with

   Plaintiff.


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75. As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered damages in an

   amount to be proven at trial.

76. Defendant’s conduct was willful, wanton, or reckless, such that an award of punitive damages

   against Defendant is appropriate.

                     COUNT III: NEGLIGENT MISREPRESENTATION

77. Plaintiff incorporates all previous allegations as though fully set forth herein.

78. Defendant had a duty to be honest and avoid making material misrepresentations in its dealings

   with Plaintiff, including in Defendant’s advertising.

79. Defendant breached that duty by making material misrepresentations to Plaintiff.

80. As a direct and proximate result of Defendant’s negligence, Plaintiff has been damaged in an

   amount to be proven at trial.

81. Defendant’s conduct was willful, wanton, or reckless such that an award of punitive damages

   is appropriate.

                                       COUNT IV: FRAUD

82. Plaintiff incorporates all previous allegations as though fully set forth herein.

83. As described herein, Defendant made material misrepresentations of fact to Plaintiff.

84. Defendant’s misrepresentations, as described           in this Complaint, include making

   misrepresentations about Defendant’s ability to timely deliver quality equipment, and

   Defendant’s efforts to hide from customers, like Plaintiff, its failures to do so by forcing

   complaining customers into arbitration, bullying customers into removing negative public

   comments about Defendant, and/or forcing aggrieved customers to sign NDAs.

85. Defendant also failed to disclose that it had no intention of timely delivering Plaintiff’s

   equipment.


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86. Defendant also misrepresented that it was making progress on Plaintiff’s equipment, when it

   had in fact, not even started working on Plaintiff’s equipment.

87. Defendant knew, or should have known, that its misrepresentations were false when it made

   them.

88. Defendant made these misrepresentations with the intent to deceive Plaintiff and did deceive

   Plaintiff by virtue of inducing Plaintiff into sending Defendant approximately $75,000.

89. Plaintiff relied on Defendant’s misrepresentations, to its detriment and has suffered damages in

   an amount to be proven at trial.

90. Defendant’s conduct was willful, wanton, or reckless such that an award of punitive damages

   is appropriate.

                             COUNT V: VIOLATIONS OF THE UPA

91. Plaintiff incorporates by reference all of the foregoing allegations as though fully set forth

   herein.

92. New Mexico has a public policy embodied in the New Mexico Unfair Trade Practices Act that

   prohibits companies and individuals from engaging in unfair/deceptive trade practices against

   New Mexico consumers. See NMSA 1978, § 57-12-1 et seq.

93. As the result of the conduct described herein Defendant has violated the New Mexico Unfair

   Trade Practices act by engaging in unfair, deceptive, trade practices by engaging in conduct,

   including but not limited to:

               a. Causing confusion or misunderstanding as to the source, sponsorship, approval

                     or certification of goods and services;

               b. Using deceptive representations or designations of geographic origin in

                     connections with goods or services;



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               c. Representing goods or services are of a particular standard, quality or grade or

                   that goods are of a particular style or model if they are of another;

               d. Using exaggeration, innuendo or ambiguity as to a material fact or failing to state

                   a material fact if doing so deceives or tends to deceive;

               e. Failing to deliver the quality or quantity of goods or services contracted for.

94. Defendant has also violated the New Mexico Unfair trade Practices Act by engaging in

   unconscionable trade practice as defined by the Act by taking advantage of Plaintiff’s lack of

   knowledge, ability, experience, or capacity to a grossly unfair degree as described herein.

95. Defendant’s conduct has resulted in a gross disparity between the value received by Plaintiff

   and the price paid.

96. As the result of Defendant’s violations, Plaintiff is entitled to damages in the amount of treble

   its actual damages and attorney fees as provided in the Act.

                                  COUNT VI: CONVERSION

97. Plaintiff incorporates by reference all of the foregoing allegations as though fully set forth

   herein.

98. Plaintiff had the right of possession of personal property, its money.

99. Plaintiff demanded that the Defendant return the property to Plaintiff;

100.    Defendant refused to return the property to Plaintiff, instead has exercised dominion and

   control over it and converted the money to Defendant’s own use.

101.    Plaintiff has been damaged by Defendant’s conversion in an amount to be proven at trial.

                            COUNT VII: UNJUST ENRICHMENT

102.    Plaintiff incorporates by reference all of the foregoing allegations as though fully set forth

   herein.



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103.    Defendant has knowingly benefitted by virtue of keeping Plaintiff’s money.

104.    Defendant has benefited in a manner that allowing Defendant to keep Plaintiff’s money

   would be unjust.

105.    The court should grant the equitable remedy of unjust enrichment and require Defendant

   to return Plaintiff its money.

        WHEREFORE, Plaintiff prays for judgment against Defendant for compensatory damages,

punitive damages, the costs of this action, treble damages, attorney fees, and whatever additional

relief the Court may deem just and proper.

                                             GIDDENS, GATTON, & JACOBUS, P.C.


                                          By: __/s/ H. Jesse Jacobus, III________         __
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